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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :      Criminal No. 1:21-cr-00046-RDM
                                               :
BRADY KNOWLTON,                                :
                                               :
PATRICK MONTGOMERY, and                        :
                                               :
GARY WILSON                                    :
                                               :
                       Defendants              :


                                   JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendants Brady Knowlton, Patrick Montgomery, and Gary Wilson

by and through their attorneys, Ronald S. Sullivan Jr., T. Brent Mayr, Camille Wagner, Duncan P.

Levin, and Peter Cooper now submit this joint status report, requested by the Court at the last status

hearing on October 12, 2022.

   1. At the last hearing, the Court directed the parties to file a joint status report on or before

November 14, 2022 regarding the timeline for grand jury and Jencks Act disclosures.

   2. The parties whose signatures appear below have met and conferred and agree that the

deadline for grand jury and Jencks Act disclosures will be March 30, 2023.

                                               Respectfully submitted,


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                                               By:    /s/ James D. Peterson
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